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                          FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

         ANDREW SABLAN SALAS,                      No. 22-16936

                       Plaintiff-Appellant,       D.C. No. 1:22-cv-
                                                       00008
          v.

         UNITED STATES OF AMERICA,                   OPINION

                       Defendant-Appellee.

              Appeal from the United States District Court
             for the District of the Northern Mariana Islands
           Ramona V. Manglona, Chief District Judge, Presiding

                 Argued and Submitted February 12, 2024
                           Honolulu, Hawaii

                          Filed August 27, 2024

         Before: Richard A. Paez, Milan D. Smith, Jr., and Lucy H.
                          Koh, Circuit Judges.

                         Opinion by Judge Koh;
                        Concurrence by Judge Paez
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                                   SUMMARY *


                               Animal Welfare Act

            The panel affirmed the district court’s dismissal of a
         complaint brought by a resident of the Commonwealth of the
         Northern Mariana Islands (“CNMI”) alleging that the
         Covenant to Establish a Commonwealth of the Northern
         Mariana Islands in Political Union with the United States of
         America (the “Covenant”) precludes the application to the
         CNMI of a federal cockfighting prohibition.
             The Animal Welfare Act (“AWA”), 7 U.S.C. § 2156, as
         amended in 1976, prohibited animal fighting, with an
         exception that if a state or territory’s laws authorized
         cockfighting, then cockfighting in that state or territory was
         not federally prohibited. Because cockfighting was lawful
         in both Guam and the CNMI under each jurisdiction’s own
         laws, cockfighting was not federally prohibited there until a
         2018 Amendment to the AWA, which prohibited
         cockfighting in every United States jurisdiction.
             The panel held that because 7 U.S.C. § 2156 existed on
         January 9, 1978, Covenant § 502—which determines the
         applicability of laws of the United States in existence on
         January 9, 1978, and subsequent amendments to such laws—
         governs whether 7 U.S.C. § 2156 and its 2018 Amendment
         are applicable to the CNMI. Applying § 502, the panel held
         that because 7 U.S.C. § 2156 was in existence when the
         Covenant took effect on January 9, 1978, and was applicable


         *
          This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         to Guam and to the States generally, 7 U.S.C. § 2156 and its
         2018 Amendment are applicable to the CNMI.
             The panel held that Covenant § 105—which determines
         the applicability of laws enacted after January 9, 1978—does
         not govern the applicability of amendments to statutes in
         existence on January 9, 1978, and that Covenant § 502 alone
         governs. However, even if Covenant § 105 governs, 7
         U.S.C. § 2156 and its 2018 Amendment would still apply to
         the CNMI because they are “applicable to the several States”
         and do not intrude impermissibly upon the internal affairs of
         the CNMI.
             Concurring in the result, Judge Paez disagreed that
         Covenant § 502 alone governs whether 7 U.S.C. § 2156 and
         its 2018 Amendment apply to the CNMI, and would hold
         that Covenant § 105 also applies to amendments to laws in
         existence on January 9, 1978. Even so, however, plaintiff
         failed to demonstrate that 7 U.S.C. § 2156 and its 2018
         Amendment impermissibly intrude upon the internal affairs
         of the CNMI.


                                 COUNSEL

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         Foundation, and The Center for a Humane Economy.


                                 OPINION

         KOH, Circuit Judge:

             Andrew Sablan Salas (“Salas”), a resident of the
         Commonwealth of the Northern Mariana Islands (“CNMI”),
         filed suit seeking a declaratory judgment stating that the
         Covenant to Establish a Commonwealth of the Northern
         Mariana Islands in Political Union with the United States of
         America (the “Covenant”), Pub. L. No. 94-241, 90 Stat. 263
         (1976), precludes the application to the CNMI of a federal
         cockfighting prohibition set forth in 7 U.S.C. § 2156 and its
         2018 Amendment. Salas also sought an injunction barring
         the prohibition’s enforcement. In response, the government
         filed a motion to dismiss. Finding that the federal
         cockfighting prohibition applied to the CNMI pursuant to the
         Covenant, the district court dismissed the complaint with
         prejudice. Salas appeals that decision. We conclude that 7
         U.S.C. § 2156 and its 2018 Amendment apply to the CNMI.
         Accordingly, we affirm.
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                          LEGAL BACKGROUND
           I. The Covenant to Establish a Commonwealth of the
              Northern Mariana Islands in Political Union with
              the United States.
             After Japan’s defeat in World War II, the United Nations
         Trusteeship Council established the Trust Territory of the
         Pacific Islands, encompassing most of the islands of
         Micronesia formerly held by Japan, including the CNMI.
         United States ex rel. Richards v. Guerrero, 4 F.3d 749, 751
         (9th Cir. 1993). The United Nations appointed the United
         States as the administering authority of the Trust Territory
         pursuant to a trusteeship agreement. Id. The agreement
         imposed on the United States a duty to “promote the
         development of the inhabitants of the trust territory toward
         self-government or independence.” Id. In 1972, the United
         States entered formal negotiations with the Northern
         Mariana Islands as part of this obligation. Id.
             In 1975, negotiations between the United States and the
         Northern Mariana Islands concluded with the signing of the
         Covenant. Id. The Covenant established “a self-governing
         commonwealth for the Northern Mariana Islands within the
         American political system” and “define[d] the future
         relationship between the Northern Mariana Islands and the
         United States.” Pub. L. No. 94-241, 90 Stat. 263, 264 (1976).
         The Covenant was unanimously endorsed by the Northern
         Mariana Islands legislature on February 20, 1975, and
         approved by 78.8% of the people of the Northern Mariana
         Islands voting in a plebiscite held later that year. Id. at 263.
         The Covenant reflected the Northern Mariana Islands’
         “desire for political union with the United States” which “for
         over twenty years” had been “clearly expressed” through
         “public petition and referendum.” Id. at 264.
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             In 1976, Congress approved and enacted the Covenant
         into law, the main provisions of which became effective on
         January 9, 1978. Proclamation 4534, 42 Fed. Reg. 56,593
         (Oct. 24, 1977). Today, “the authority of the United States
         towards the CNMI arises solely under the Covenant.”
         Hillblom v. United States, 896 F.2d 426, 429 (9th Cir. 1990).
         Because the Covenant created a “unique” relationship
         between the United States and the CNMI, its provisions
         alone define the boundaries of those relations. N. Mariana
         Islands v. Atalig, 723 F.2d 682, 684–87 (9th Cir. 1984).
             The Covenant provides that certain provisions of the
         United States Constitution and certain United States statutes
         apply to the CNMI. For those laws not explicitly addressed,
         the Covenant provides formulae for determining whether a
         federal law will apply to the CNMI. Three sections of the
         Covenant are at issue in this case: § 103, § 105, and § 502.
         These sections outline which federal laws in existence on
         January 9, 1978, and which federal laws enacted thereafter
         apply to the CNMI.
             Section 103 of the Covenant provides:

                The people of the Northern Mariana Islands
                will have the right of local self-government
                and will govern themselves with respect to
                internal affairs in accordance with a
                Constitution of their own adoption.

            Section 105 of the Covenant, which governs laws
         enacted after January 9, 1978, provides, in relevant part:

                The United States may enact legislation . . .
                which will be applicable to the Northern
                Mariana Islands, but if such legislation
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                cannot also be made applicable to the several
                States[,] the Northern Mariana Islands must
                be specifically named therein for it to become
                effective in the Northern Mariana Islands.

            Section 502 of the Covenant, which governs the
         application of laws in effect on January 9, 1978, provides:

                (a) The following laws of the United States in
                existence on the effective date of this Section
                and subsequent amendments to such laws
                will apply to the Northern Mariana Islands,
                except as otherwise provided in this
                Covenant:
                (1) those laws which provide federal services
                and financial assistance programs and the
                federal banking laws as they apply to
                Guam . . . .
                (2) those laws not described in paragraph
                (1) which are applicable to Guam and which
                are of general application to the several States
                as they are applicable to the several States;
                and
                (3) those laws not described in paragraph
                (1) or (2) which are applicable to the Trust
                Territory of the Pacific Islands, but not their
                subsequent amendments unless specifically
                made applicable to the Northern Mariana
                Islands . . . .

             Thus, under § 502(a)(2), a federal law that was both
         “applicable to Guam” and “applicable to the several States”
         on January 9, 1978, applies to the CNMI.
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             To facilitate the transition of the Northern Mariana
         Islands to its new political status, the Covenant established
         the Commission on Federal Laws (“Commission”) to survey
         the laws of the United States and make recommendations to
         Congress as to which laws should be made applicable or
         inapplicable to the CNMI and to what extent and in what
         manner. Covenant § 504; Micronesian Telecomms. Corp. v.
         NLRB, 820 F.2d 1097, 1101 (9th Cir. 1987). In formulating
         its recommendations, the Commission considered the
         policies embedded in the law and the provisions and
         purposes of the Covenant. Covenant § 504. The Commission
         published its recommendations as interim reports to
         Congress until the Trust Territory’s termination. Id.
             In its second interim report, the Commission reported
         that it examined the chapters of Title 7 of the United States
         Code, including the chapter containing 7 U.S.C. § 2156, and
         found “[n]o significant problems in the application of these
         chapters to the Northern Mariana Islands.” Commission on
         Federal     Laws,     Welcoming        America’s     Newest
         Commonwealth: The Second Interim Report of the Northern
         Mariana Islands Commission on Federal Laws to the
         Congress of the United States 229 (1985) (“Second Interim
         Report”).
             II. The Animal Welfare Act and the Agriculture
                 Improvement Act of 2018.
             The Animal Welfare Act (“AWA”), established in 1966,
         sets forth standards for the humane care and treatment of
         animals. Pub. L. No. 89-544, 80 Stat. 350 (1966). In 1976,
         Congress amended the Animal Welfare Act to prohibit
         animal fighting. Pub. L. No. 94-279, 90 Stat. 417 (1976).
         That amendment, codified as 7 U.S.C. § 2156, is the
         pertinent version of § 2156 at issue here.
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             Section 2156 provided that “[i]t shall be unlawful for any
         person to knowingly sponsor or exhibit an animal in any
         animal fighting venture to which any animal was moved in
         interstate or foreign commerce.” 7 U.S.C. § 2156(a) (1976).
         Section 2156(d) provided an exception stating that the
         prohibition of animal fighting ventures “shall be unlawful
         with respect to fighting ventures involving live birds only if
         the fight is to take place in a State where it would be in
         violation of the laws thereof.” Id. § 2156(d). “State” was
         defined as “any State of the United States, the District of
         Columbia, the Commonwealth of Puerto Rico, and any
         territory or possession of the United States.” Id.
         § 2156(g)(4). Therefore, after 1976, cockfighting was
         federally unlawful in a particular state or territory only if that
         state or territory also deemed cockfighting unlawful. In other
         words, if a state or territory’s laws authorized cockfighting,
         then cockfighting in that state or territory was not federally
         prohibited.
             Because cockfighting was lawful in both Guam and the
         CNMI under each jurisdiction’s own laws, cockfighting was
         not federally prohibited there under the AWA.
             In 2018, Congress passed the Agriculture Improvement
         Act of 2018 (“AIA”), which amended the AWA. Section
         12616 of the AIA, hereafter the “2018 Amendment,”
         eliminated the cockfighting exception contained in 7 U.S.C.
         § 2156(d). Pub. L. No. 115-334, 132 Stat. 4490 (2018). The
         ultimate effect of the 2018 Amendment was “the prohibition
         of animal fighting ventures, including live-bird fighting, in
         every United States jurisdiction.” Club Gallístico de Puerto
         Rico Inc. v. United States, 414 F. Supp. 3d 191, 200 (D.P.R.
         2019) (citations omitted), aff’d sub nom. Hernández-Gotay
         v. United States, 985 F.3d 71 (1st Cir.), cert. denied sub nom.
         Ortiz-Diaz v. United States, 142 S. Ct. 336 (2021).
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             Thus, after the AIA went into effect, cockfighting was
         federally prohibited in both Guam and the CNMI.
              FACTUAL AND PROCEDURAL BACKGROUND
             Until 2019, when the AIA prohibited cockfighting
         completely, Salas had been regularly and actively involved
         in cockfighting. After the passage of the AIA, Salas filed suit
         in the U.S. District Court for the Northern Mariana Islands,
         seeking a declaratory judgment stating that 7 U.S.C. § 2156
         did not apply to the CNMI in 1978, and in turn, that the 2018
         Amendment (eliminating the cockfighting exception) did
         not apply to the CNMI. Salas also sought an injunction
         prohibiting the U.S. government from enforcing those laws
         in the CNMI.
             In his complaint, Salas advanced three legal theories as
         to why the Covenant precluded the application of the
         AWA’s federal prohibition on cockfighting to the CNMI.
         First, Salas argued that because § 2156 was not a law of
         general application in 1978, it did not apply to the CNMI
         under Covenant § 502. Second, Salas asserted that § 2156
         did not apply to the CNMI under § 105 because it could not
         be made applicable to the several states. Finally, Salas
         contended that the 2018 Amendment intrudes into the
         internal affairs of the CNMI in violation of Covenant § 103,
         which preserves the CNMI’s right of local self-government.
             The government moved to dismiss Salas’s complaint
         with prejudice under Federal Rule of Civil Procedure
         12(b)(6) for failure to state a claim. The district court granted
         the government’s motion with prejudice. In its decision, the
         district court noted that § 502 “was the pertinent section of
         the Covenant to determine whether § 2156 applies to the
         CNMI” because § 2156 existed prior to 1978. Additionally,
         because the parties “agreed in their briefs and at the hearing
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         that section 502 of the Covenant governs, as opposed to
         section 105,” the district court found it unnecessary to
         address whether § 105 of the Covenant precludes the
         application of § 2156 to the CNMI. For the reasons below,
         the district court determined that § 2156 applied to the
         CNMI because § 2156 was applicable to Guam and the
         several states as required by § 502 of the Covenant.
             First, the district court found that § 2156 “was applicable
         to Guam” in 1978, explaining that although the § 2156(d)
         exception allowed cockfighting to remain legal in Guam, the
         lack of a cockfighting prohibition in Guam did not mean that
         the statute was not “applicable to Guam.” The district court
         noted that Salas’s argument that § 2156 needed to impose a
         federal cockfighting prohibition in Guam for it to apply to
         Guam under Covenant § 502, was “very similar to the
         government’s unsuccessful argument” in Northern Mariana
         Islands v. United States, 279 F.3d 1070 (9th Cir. 2002),
         where the Ninth Circuit defined “applicable to Guam” to
         mean “applicable within” and “applicable with respect to”
         Guam. Because the Ninth Circuit’s definition of “applicable
         to Guam” foreclosed “Plaintiff’s proposed definition of
         ‘apply,’” the district court found that § 2156 applies to
         Guam.
             Next, the district court found that § 2156 was applicable
         to the several States under Covenant § 502. Because the
         Ninth Circuit in Northern Mariana Islands defined the
         phrase “applicable to Guam” to mean “applicable with
         respect to” and “applicable within” Guam,” the district court
         held that § 502’s phrase “general application to the several
         States” also meant “applicable within” and “applicable with
         respect to” the several States, as principles of statutory
         interpretation require a court to presume that the same words
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         and phrases have the same meaning when used in different
         parts of the same statute.
             Finally, the district court determined that Covenant
         § 103 did not preclude the 2018 Amendment’s application to
         the CNMI because § 502 governed, as opposed to § 105.
         Because Covenant § 502 governed, the requirement under
         § 103, that a federal law not intrude on the CNMI’s internal
         affairs, was not implicated. Even if such a requirement were
         implicated, the district court explained that the federal
         interests in regulating interstate or foreign commerce,
         protecting the nation’s values, and controlling the interstate
         spread of the avian flu outweighed any degree of intrusion.
         The district court declined to give Salas leave to amend his
         complaint, noting that Salas’s request to plead more facts
         regarding the importance of cockfighting in the CNMI was
         unnecessary because the district court had presumed
         cockfighting regulation to be an internal affair of the CNMI.
         Additionally, leave to amend would be futile because the
         federal interests outweighed any intrusion caused by § 2156
         and its 2018 Amendment. The district court thus dismissed
         Salas’s complaint with prejudice. Salas timely appealed.
                        STANDARD OF REVIEW
             “We review de novo the dismissal of a complaint for
         failure to state a claim.” Telesaurus VPC, LLC v. Power, 623
         F.3d 998, 1003 (9th Cir. 2010).
                                DISCUSSION
            The issue in this case is whether the district court
         properly dismissed Salas’s complaint because the federal
         cockfighting prohibition, set forth in 7 U.S.C. § 2156 and its
         2018 Amendment, applies to the CNMI. To address this
         question, we must first determine whether Covenant § 105
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         or § 502 governs. For the reasons below, we hold that
         Covenant § 502 governs. However, under either section of
         the Covenant, 7 U.S.C. § 2156 and its 2018 Amendment
         apply to the CNMI.
           I. The Covenant’s plain language establishes that
              § 502 governs.
             The applicability of a federal law to the CNMI is guided
         by whether § 502 or § 105 of the Covenant governs. See
         Richards, 4 F.3d at 756. “When interpreting the meaning of
         [a] statute, we look first to its plain language.” Infuturia
         Glob. Ltd. v. Sequus Pharms., Inc., 631 F.3d 1133, 1137 (9th
         Cir. 2011) (internal quotation marks omitted). According to
         its terms, Covenant § 502 determines the applicability of
         “laws of the United States in existence on [January 9, 1978]
         and subsequent amendments to such laws.” Covenant
         § 502(a). “Section 105 governs the application of federal
         laws enacted after that date.” Richards, 4 F.3d at 754. We
         have held that the language of the Covenant “is clear and
         unambiguous.” Micronesian Telecomms. Corp., 820 F.2d at
         1101. “If the statutory language is plain, we must enforce the
         statute according to its terms.” Rainero v. Archon Corp., 844
         F.3d 832, 837 (9th Cir. 2016) (citing Jimenez v. Quarterman,
         555 U.S. 113, 118 (2009)). Here, § 2156 existed on January
         9, 1978. See Pub. L. No. 94-279, 90 Stat. 421 (1976).
         Covenant § 502 thus governs whether § 2156 and its 2018
         Amendment apply to the CNMI.
           II. Under Covenant § 502, 7 U.S.C. § 2156 and its 2018
               Amendment apply to the CNMI.
             Because § 502 of the Covenant governs, the test to
         determine whether 7 U.S.C. § 2156 and its 2018 Amendment
         apply to the CNMI is whether that law was “applicable to
         Guam” and was “of general application to the several States”
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         prior to January 9, 1978. Covenant § 502(a)(2). Under this
         framework, we hold that § 2156 and its 2018 Amendment
         apply to the CNMI for the reasons below.
             Salas argues that § 2156 was not “applicable to Guam”
         under the first prong of § 502 because cockfighting was legal
         under Guam’s laws in 1978. In other words, because
         § 2156(d) exempted Guam from § 2156’s animal fighting
         prohibition, the cockfighting prohibition did not “apply to
         Guam.” As the district court noted, however, Salas appears
         to misconstrue what it means for a law to be “applicable to
         Guam.” According to Salas, “[t]he plain meaning of ‘apply’
         is to have some practical effect, and a law imposing a ban
         that bans nothing in a given place has no more practical
         effect in that place than a law that is never enacted in the first
         place.” Salas’s theory, however, contradicts the language of
         § 2156 and Ninth Circuit precedent.
             First, the language of § 2156 clearly states that the law
         was meant to apply in every state and territory, including the
         CNMI. When interpreting a statute, we “look to the
         particular statutory language at issue, as well as the language
         and design of the statute as a whole.” K Mart Corp. v.
         Cartier, Inc., 486 U.S. 281, 291 (1988); see JPMCC 2007-
         C1 Grasslawn Lodging, LLC v. Transwest Resort Props. Inc.
         (In re Transwest Resport Props., Inc.), 881 F.3d 724, 727
         (9th Cir. 2018). Section 2156 made it a federal offense to
         sponsor or exhibit an animal in any “animal fighting
         venture” in which an animal was moved in interstate
         commerce, 7 U.S.C. §§ 2156(a), (e) (1976), including “live
         bird[s],” id. §§ 2156(g)(1), (4). Interstate commerce was
         defined as “any movement between any place in a State to
         any place in another State or between places in the same
         State through another State.” Id. § 2156(g)(2). In turn, State
         meant “any State of the United States . . . and any territory
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         or possession of the United States.” Id. § 2156(g)(4). Salas
         acknowledges that Guam falls under the definition of “State”
         because it is a U.S. territory. Thus, Salas concedes that
         § 2156 writ large was the law in Guam. Even without this
         concession, a statute that references the United States and its
         territories and possessions is a strong indication that it is
         meant to apply in the CNMI. Misch ex rel. Est. of Misch v.
         Zee Enters., Inc., 879 F.2d 628, 631 (9th Cir. 1989) (“[T]he
         Act itself strongly indicates that it is meant to apply in the
         CNMI by expressly barring relief to those seamen who
         [worked] . . . ‘in the territorial waters or waters overlaying
         the continental shelf of a nation other than the United States,
         its territories, or possessions.’” (quoting 46 U.S.C. App.
         § 688(b)(1))).
             Second, we rejected a theory like the one Salas advances
         in Northern Mariana Islands v. United States. There, the
         government argued that amendments to the federal Quiet
         Title Act that exempted the States, but not Guam, from the
         act’s statute of limitations were not “applicable to Guam”
         under Covenant § 502. 279 F.3d at 1072–74. We rejected the
         government’s theory, explaining that “[t]he Covenant’s
         framers considered the term ‘applicable to Guam’ to mean
         not only ‘applicable with respect to’ Guam, but also to mean
         ‘applicable within’ Guam.” Id. at 1073. As a result, that “the
         amendments themselves did not exempt Guam from [the
         act’s] statute of limitations” did not mean the amendments
         were not applicable to Guam within the meaning of
         Covenant § 502(a)(2). Id. at 1073–74. “That is, the
         amendments, regardless of their treatment of Guam, are law
         within Guam.” Id. at 1073. We thus rejected understanding
         “applicable to Guam” in Covenant § 502 to mean that a
         federal law must have a practical effect in Guam for the law
         to apply. Therefore, § 2156(d) was applicable to Guam in
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         1978, satisfying the first prong (“applicable to Guam”) of
         § 502’s two-part test.
             For the second prong (“of general application to the
         several States”), Salas asserts the same theory. Specifically,
         Salas argues that § 2156 was not of “general application to
         the several states” because it was applicable to the states
         “only variably and selectively,” “depending on whether
         cockfighting was or was not already prohibited by their own
         laws,” In interpreting statutes, “the same words or phrases
         are presumed to have the same meaning when used in
         different parts of a statute.” Prieto-Romero v. Clark, 534
         F.3d 1053, 1061 n.7 (9th Cir. 2008) (internal quotation
         marks omitted). Thus, the meaning of “application to Guam”
         should be consistent with the meaning of “application to the
         several States.” Because application to Guam is understood
         to mean “applicable with respect to” and “applicable within”
         Guam, it follows that “application to the several States”
         likewise means “applicable with respect to” and “applicable
         within” the several States. See N. Mariana Islands, 279 F.3d
         at 1073. Therefore, § 2156 “was of general application to the
         several states” for the same reasons that § 2156 was
         “applicable to Guam,” as discussed above.
            Because § 2156 was in existence on January 9, 1978, and
         was applicable to Guam and to the States generally, § 2156
         and its 2018 Amendment prohibiting cockfighting are
         applicable to the CNMI under Covenant § 502. 1 United

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           Our conclusion is consistent with the Commission on Federal Laws’s
         own determination that Title 7 of the U.S. Code, which includes § 2156,
         is applicable to the CNMI. Second Interim Report 299. This factor
         “point[s] unequivocally in favor of [the law at issue] applying in the
         Commonwealth.” Misch, 879 F.2d at 630 (holding that the Jones Act
         applied to the CNMI based, in part, on the Commission on Federal
         Laws’s conclusion that the act applied to the CNMI).
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         States v. Dela Cruz, 358 F.3d 623, 625 (9th Cir. 2004)
         (where other conditions of § 502 were met, “[t]he only
         inquiry for this court is therefore whether [the challenged
         law] was in existence on [January 9, 1978]”).
           III. Covenant § 105 does not govern the applicability
                of amendments to statutes in existence on January
                9, 1978.
             In the district court, Salas argued that either (1) both
         § 2156 and its 2018 Amendment were governed by
         Covenant § 502, or (2) the 2018 Amendment was “a new law
         enacted in 2018” that was instead governed by Covenant
         § 105. As we have explained, § 2156 and its 2018
         Amendment are governed by § 502; Salas’s argument in the
         alternative is incorrect. Now on appeal, however, Salas
         contends that Covenant § 105 must also govern the
         applicability of the 2018 Amendment—indeed, all
         amendments to statutes in existence on January 9, 1978—
         notwithstanding the applicability of § 502. We disagree.
             First, “in the absence of strong evidence that Congress
         intended a different meaning,” “we must interpret statutory
         terms by their plain meaning.” N. Mariana Islands, 279 F.3d
         at 1072 (citing Amoco Prod. Co. v. Village of Gambell, 480
         U.S. 531, 548 (1987)). The language of the Covenant, which
         is “clear and unambiguous,” Micronesian Telecomms.
         Corp., 820 F.2d at 1101, states that § 502 governs the
         applicability to the CNMI of “laws of the United States in
         existence on [January 9, 1978] and subsequent amendments
         to such laws.” Salas offers no evidence, let alone “strong
         evidence,” that Congress intended § 502 to possess a
         meaning different from its plain meaning. At oral argument,
         Salas could point to no case, nor does our research reveal
         any, in which the applicability of a federal law was governed
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         by both § 105 and § 502. We thus interpret § 502 consistent
         with its plain meaning.
             Second, consistent with the statutory language, Ninth
         Circuit precedent also holds that § 502 governs the
         applicability of amendments to laws that existed on January
         9, 1978, even if the amendments were enacted after that date.
         In holding the 1986 Quiet Title Act amendments applicable
         to the CNMI under Covenant § 502 in Northern Mariana
         Islands, as noted above, we explained that “the 1986
         amendments became part of the Quiet Title Act.” 279 F.3d
         at 1073. As a result, because the Quiet Title Act itself was
         applicable to the CNMI under § 502, so too were the 1986
         amendments. Id. at 1073–74. 2


         2
            The concurrence asserts that Northern Mariana Islands does not
         control the resolution of this issue because the court in that case was not
         presented with the argument that both § 105 and § 502 governed. In other
         words, the concurrence would have us disregard Northern Mariana
         Islands’s interpretation and application of § 502 because the court did
         not consider § 105 when it analyzed § 502. We respectfully disagree. In
         determining that the amendments at issue met § 502’s requirements, the
         Northern Mariana Islands court reasoned that § 502 encompasses
         amendments of laws that are applicable to the CNMI as amendments
         become part of the original law. We remain bound by this well-reasoned
         analysis. See Cetacean Cmty. v. Bush, 386 F.3d 1169, 1173 (9th Cir.
         2004) (“[W]here a panel confronts an issue germane to the eventual
         resolution of the case, and resolves it after reasoned consideration in a
         published opinion, that ruling becomes the law of the circuit, regardless
         of whether doing so is necessary in some strict logical sense.”); Marshall
         Naify Revocable Tr. v. United States, 672 F.3d 620, 627 (9th Cir. 2012)
         (“[W]e treat reasoning central to a panel’s decision as binding later
         panels.”). In other words, Northern Mariana Islands “squarely
         address[ed]” the issue whether § 502 encompasses amendments, even if
         it did not consider a potential counterargument. United States v. Kirilyuk,
         29 F.4th 1128, 1134 (9th Cir. 2022) (quoting Brecht v. Abrahamson, 507
         U.S. 619, 631 (1993)).
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             Third, we note that the Commission on Federal Laws,
         tasked with assisting Congress in determining the
         applicability of federal laws to the CNMI, also understood
         § 105 to govern only those laws enacted after January 9,
         1978, that are not amendments to statutes enacted prior to
         that date. Second Interim Report 30–31 (noting that
         “[d]etermining the applicability to the Northern Mariana
         Islands of statutes enacted after January 9, 1978, that are not
         amendments of statutes enacted prior to that date is relatively
         simple” and is accomplished by applying the “rule of
         statutory construction” in § 105). 3
             Finally, Salas’s argument overlooks the purpose of § 502
         and § 105. Section 502 was designed to establish a
         “workable body of law” for the CNMI upon its inception as
         a self-governing commonwealth on January 9, 1978. To
         Approve “The Covenant to Establish a Commonwealth of
         the Northern Mariana Islands,” and for Other Purposes:
         Hearing on H.J. Res. 549, 550 and 547 Before the Subcomm.


         3
           The concurrence makes much of the fact that a portion of the Second
         Interim Report was superseded by the Commission on Federal Laws’s
         Final Report. As an initial matter, our court has continued to rely on the
         Second Interim Report’s recommendations, which in turn necessarily
         rely on the analysis contained in the portions of the report that were
         superseded, even after the publication of the Final Report. See, e.g., Fang
         Lin Ai v. United States, 809 F.3d 503, 513–14 (9th Cir. 2015). At least
         one other court of appeals, too, has found the Second Interim Report to
         be a helpful tool in interpreting the Covenant notwithstanding the
         existence of the Final Report. See Xianli Zhang v. United States, 640
         F.3d 1358, 1373–74 (Fed. Cir. 2011). In any event, we need not resort to
         this history because, as explained above, the Covenant’s language is
         clear. See Church of Scientology of Cal. v. U.S. Dep’t of Just., 612 F.2d
         417, 421 (9th Cir. 1979) (“[I]f the language of a statute is clear and there
         is no ambiguity, then there is no need to ‘interpret’ the language by
         resorting to the legislative history or other extrinsic aids.”).
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         on Territorial & Insular Affs. of the H. Comm. on Interior &
         Insular Affs., 94th Cong. 388 (1975). On the other hand,
         § 105 granted Congress the right to enact laws applicable to
         the CNMI post-inception so long as the laws also applied to
         the several States or otherwise named the CNMI
         specifically. Id. at 630–32. To hold that both § 105 and § 502
         govern the applicability of amendments to pre-existing
         federal laws would eliminate this distinction. Collins v. Gee
         W. Seattle LLC, 631 F.3d 1001, 1005 (9th Cir. 2011) (“[W]e
         may not read a statute’s plain language to produce a result
         contrary to the statute’s purpose or lead to unreasonable
         results.” (internal quotation marks omitted)).
             Against this evidence, Salas and the concurrence point to
         § 502(a)’s preamble stating that laws and subsequent
         amendments to those laws apply to the Northern Mariana
         Islands “except as otherwise provided in this Covenant.”
         Under Salas’s interpretation, § 502 is subordinate to § 105,
         notwithstanding § 502’s clear instruction to treat
         amendments to laws that existed on the Covenant’s effective
         date the same as those laws themselves. We find this
         contention unpersuasive. Salas’s argument hinges on the
         premise that “subsequent amendments” to laws in effect on
         the Covenant’s effective date do not automatically apply to
         the Northern Mariana Islands but rather must meet § 105’s
         requirements, just like entirely new legislation. Section
         502(a)’s vague reference to “except as otherwise provided in
         this Covenant” is insufficient evidence in favor of Salas’s
         position.
             Moreover, if subsequent amendments were treated like
         new legislation for purposes of applying § 105’s
         requirements, then we would expect to see some textual
         evidence distinguishing between laws in effect on the
         Covenant’s effective date and subsequent amendments to
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         those laws. We see no such evidence. Indeed, the one
         provision that does not treat “subsequent amendments”
         identically to existing laws is § 502(a)(3), which exempts
         “subsequent amendments” to certain laws “unless
         specifically made applicable to the Northern Mariana
         Islands.” In our view, the absence of similar language from
         the remainder of § 502(a) evinces an intent to treat other laws
         in effect on the Covenant’s effective date and their
         subsequent amendments the same. See, e.g., United States v.
         Lopez, 998 F.3d 431, 440 (9th Cir. 2021) (discussing canon
         against surplusage), abrogated in part on other grounds by
         Pulsifer v. United States, 601 U.S. 124 (2024).
             At bottom, Salas’s (and the concurrence’s) position is
         that there is no conflict between treating laws in effect on the
         Covenant’s effective date and their subsequent amendments
         the same on the one hand, and yet subjecting subsequent
         amendments to laws in effect on the Covenant’s effective
         date to § 105’s requirements as though they are new laws on
         the other. For all the reasons discussed above, we
         respectfully disagree. Accordingly, we hold that § 502 alone
         governs whether § 2156 and its 2018 Amendment apply to
         the CNMI.
           IV. Even if Covenant § 105 governs, 7 U.S.C. § 2156 and
               its 2018 Amendment would still apply to the CNMI.
             Even if Covenant § 105 governs, which requires laws to
         be applicable to the several States or otherwise name the
         CNMI, § 2156 and its 2018 Amendment would still apply to
         the CNMI because they are “applicable to the several
         States.” Moreover, the federal interests advanced by § 2156
         and its 2018 Amendment are significant, outweighing any
         intrusion into the internal affairs of the CNMI.
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           A. 7 U.S.C. § 2156 and its 2018 Amendment are
              “applicable to the several States.”
             Under Covenant § 105, “the United States may legislate
         with respect to the CNMI, ‘but if such legislation cannot also
         be made applicable to the several States[,] the Northern
         Mariana Islands must be specifically named therein for it to
         become effective in the Northern Mariana Islands.’”
         Richards, 4 F.3d at 754 (quoting Covenant § 105). Salas
         argues that the federal cockfighting prohibition cannot apply
         to the several States because state law in all fifty States
         already prohibited cockfighting. However, as explained
         above, under the Covenant the applicability of a federal law
         to the States is not based on the law’s practical effect in the
         States. Section 2156 and its 2018 Amendment are thus
         “applicable to the several States” under § 105 and need not
         name the CNMI to apply.
           B. 7 U.S.C. § 2156 and its 2018 Amendment do not
              intrude impermissibly upon the internal affairs of
              the CNMI under Covenant § 103 and § 105.
             Finally, Salas argues that § 2156 and its 2018
         Amendment do not apply to the CNMI because they intrude
         upon the CNMI’s right to local self-government as
         guaranteed by § 103 and § 105 of the Covenant. We
         disagree.
             Covenant § 103 guarantees the people of the CNMI the
         ability to “govern themselves with respect to internal affairs
         in accordance with a Constitution of their own adoption.”
         Covenant § 103. In turn, Covenant § 105 “prevent[s] any
         inadvertent interference by Congress with the internal affairs
         of the Northern Mariana Islands to a greater extent than with
         those of the several States.” Richards, 4 F.3d at 754 (citation
         omitted). As a result, the United States must “have an
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         identifiable federal interest that will be served by” the
         legislation it seeks to apply to the CNMI. Id. Congress is not
         precluded from passing legislation affecting the internal
         affairs of the CNMI. Id. at 755. Rather, a court must “balance
         the federal interest to be served by the legislation at issue
         against the degree of intrusion into the internal affairs of the
         CNMI.” Id.
             This balancing test, however, is unnecessary for statutes
         enacted before January 9, 1978, and thus governed by
         Covenant § 502. United States v. Chang Da Liu, 538 F.3d
         1078, 1084 (9th Cir. 2008) (“For legislation enacted after
         [January 9, 1978], we balance the federal interests served by
         the legislation against the degree of intrusion into local
         affairs.”). 4 Because Covenant § 502 alone governs, as
         discussed above, we need not conduct the Richards
         balancing test. Nonetheless, even if § 105 governed, the
         federal interests served by § 2156 and its 2018 Amendment
         would outweigh any intrusion into the CNMI’s current
         internal affairs.
             1. We presume the regulation of cockfighting to be an
                internal affair of the CNMI.
             At the motion to dismiss stage, we must accept all
         allegations of material fact as true and construe them in the
         light most favorable to the nonmoving party, and material
         allegations, even if doubtful in fact, are assumed to be true.
         See Cedars–Sinai Med. Ctr. v. Nat’l League of Postmasters
         of U.S., 497 F.3d 972, 975 (9th Cir. 2007); Bell Atl. Corp. v.
         Twombly, 550 U.S. 544, 555 (2007). The district court

         4
           Indeed, although the government cited Chang Da Liu in its answering
         brief for the proposition that the Richards balancing test is unnecessary
         for statutes governed by § 502, Salas’s reply failed to respond to this
         point.
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         presumed the regulation of cockfighting to be an internal
         affair of the CNMI, 5 and we do the same. 6
             2. 7 U.S.C. § 2156 and its 2018 Amendment serve
                significant federal interests.
             We next balance the federal interests to be served by
         § 2156 and its 2018 Amendment against the degree of
         intrusion into this presumed internal affair of the CNMI. The

         5
           At the hearing below, Salas requested leave to amend the complaint to
         plead more facts regarding the importance of cockfighting in the CNMI.
         The district court found additional facts to be unnecessary as it had
         presumed cockfighting to be an internal of affair of the CNMI.
         Moreover, as the district court correctly noted, additional facts about
         how deeply entrenched cockfighting is in the CNMI would be futile.
         Carrico v. City & County of San Francisco, 656 F.3d 1002, 1008 (9th
         Cir. 2011) (“[Leave to amend] is properly denied . . . if amendment
         would be futile.”). First, weighing the federal interest against the degree
         of intrusion into the CNMI’s local affairs per the Richards test is
         unnecessary for statutes enacted before January 9, 1978. See Chang Da
         Liu, 538 F.3d at 1084 (citing Richards, 4 F.3d at 755). Second, as we
         explain below, even if we employ the Richards balancing test, the federal
         interests in regulating interstate commerce, ensuring the humane
         treatment of animals, and preventing the spread of avian flu outweigh
         any intrusion into the CNMI’s internal affairs.
         6
           Despite this presumption, we note that Salas may not have established
         that the interstate regulation of cockfighting concerns an internal affair
         of the CNMI. Salas presents evidence indicating that Guamanian men
         enjoyed cockfighting in the 1700s and 1800s, as well as evidence that
         cockfighting has taken place in Bali, Cuba, Puerto Rico, and the
         Philippines. None are relevant to whether the regulation of cockfighting
         is an internal affair of the CNMI. Regarding the CNMI, Salas cites a
         book excerpt stating that cockfighting occurred there, without context or
         time period, and points to an essay from the 1900s, when the islands were
         under German rule, noting the occurrence of cockfighting to be an
         activity from “Spanish times.” Such evidence, however, does not resolve
         whether cockfighting is integral to and thus an internal affair of the
         CNMI today.
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         government asserts that the United States has an interest in
         regulating animal fighting, including cockfighting, because
         of its significant effect on interstate commerce and potential
         to spread avian flu. Salas, on the other hand, challenges these
         asserted interests, arguing that the animal fighting
         prohibition is instead motivated only by Congress’s
         subjective, “moral distaste” for the sport. To the contrary, as
         discussed below, in regulating animal fighting under the
         AWA, Congress sought to relieve the burden of animal
         fighting on interstate commerce, ensure the humane
         treatment of animals, and prevent the spread of avian flu, all
         of which are significant federal interests.
             When determining legislative intent, we look to specific
         expressions of legislative intent in the statute itself. See Cal.
         Tow Truck Ass’n v. City & County of San Francisco, 693
         F.3d 847, 859 (9th Cir. 2012); see also Bittner v. United
         States, 598 U.S. 85, 98 n.6 (2023) (“A preamble, purpose
         clause, or recital is a permissible indicator of meaning.”
         (quoting A. Scalia & B. Garner, Reading Law: The
         Interpretation of Legal Texts 217 (2012))). We may also
         look to the legislative history, including congressional
         committee findings. See Garcia v. United States, 469 U.S.
         70, 76 (1984) (“[T]he authoritative source for finding the
         Legislature’s intent lies in the Committee Reports on the bill,
         which represent the considered and collective understanding
         of those Congressmen involved in drafting and studying
         proposed legislation.” (alteration and internal quotation
         marks omitted)).
            Here, the statement of findings contained in the AWA
         expressly states that Congress sought to eliminate the burden
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         of animal fighting ventures on interstate commerce and
         assure the humane treatment of animals in such commerce:

                The Congress finds that animals and
                activities which are regulated under this
                chapter are either in interstate or foreign
                commerce or substantially affect such
                commerce or the free flow thereof, and that
                regulation of animals and activities as
                provided in this chapter is necessary to
                prevent and eliminate burdens upon such
                commerce and to effectively regulate such
                commerce, in order . . . to assure the humane
                treatment of animals during transportation in
                commerce . . . .

         7 U.S.C. § 2131.
             The AWA’s congressional committee findings show the
         same. See H.R. Rep. No. 94-801, at 10 (1976) (“[The AWA]
         is necessary to prevent and eliminate burden upon [interstate
         or foreign] commerce, to effectively regulate such
         commerce, to protect the human values of this great Nation
         from the subversion of dehumanizing activities, and to carry
         out the objectives of the Act.”).
             The government also asserts, and the district court
         agreed, that the cockfighting prohibition serves to prevent
         the spread of avian flu, offering statements made by
         members of Congress to that effect. E.g., 153 Cong. Rec.
         S451 (daily ed. Jan. 11, 2007) (statement of Sen. Cantwell)
         (“Interstate and international transport of birds for
         cockfighting is known to have contributed to the spread of
         avian influenza in Asia and poses a threat to poultry and
         public health in the United States.”); 153 Cong. Rec. E2
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         (daily ed. Jan. 5, 2007) (statement of Rep. Gallegly) (“There
         is the additional concern that cockfighters spread diseases
         that jeopardize poultry flocks and even public health.”).
         Although “comments by legislators are generally less
         authoritative than official committee reports, they
         nonetheless may be persuasive authority” as to statutory
         intent. U.S. Aviation Underwriters Inc. v. Nabtesco Corp.,
         697 F.3d 1092, 1099 n.3 (9th Cir. 2012) (citations omitted).
         Evidence that Congress may have also sought to prevent the
         spread of avian flu by restricting, and ultimately prohibiting,
         cockfighting reinforces the conclusion that the prohibition
         serves significant federal interests.
             Thus, Congress’s interests in regulating animal fighting
         to relieve its burden on interstate commerce, ensure the
         humane treatment of animals, and prevent the spread of
         avian flu are significant, not illusory, as Salas suggests.7
         Because these federal interests outweigh any intrusion into
         the CNMI’s internal affairs, neither § 103 nor § 105 preclude
         § 2156 and its 2018 Amendment’s application to the CNMI. 8




         7
           Salas does not challenge Congress’s ability to regulate interstate
         commerce through the AWA. Nor could he. “The authority of Congress
         to keep the channels of interstate commerce free from immoral and
         injurious uses has been frequently sustained and is no longer open to
         question.” United States v. Lopez, 514 U.S. 549, 558 (1995) (cleaned up).
         8
           Salas can point to no case, nor does our research reveal any, in which
         we have held a federal law inapplicable to the CNMI under § 105. We
         do not foreclose the possibility that a federal law can impermissibly
         intrude upon the CNMI’s internal affairs, which would preclude its
         application under Covenant § 103 and § 105. Our decision holds only
         that § 2156 and its 2018 Amendment do not.
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                                  CONCLUSION
            For the foregoing reasons, we affirm the district court’s
         judgment.
              AFFIRMED.


         PAEZ, Circuit Judge, concurring in the result:

             I concur in the court’s judgment. Respectfully, however,
         I disagree that “§ 502 alone governs whether § 2156 and its
         2018 Amendment apply to the [Commonwealth of the
         Northern Mariana Islands (“CNMI”)].” 1 Maj. Op. at 21. In
         my view, the majority’s analysis with respect to this point is
         incomplete, overlooking that the Covenant must be
         interpreted as a whole. Following this approach, I would
         hold that, based on the Covenant’s plain text and “every
         other interpretive tool,” § 105 also applies to amendments to




         1
           The pertinent language of § 502 of the Covenant to Establish a
         Commonwealth of the Northern Mariana Islands in Political Union with
         the United States of America (“Covenant”) provides:
                 The following laws of the United States in existence
                 on the effective date of this Section and subsequent
                 amendments to such laws will apply to the Northern
                 Mariana Islands, except as otherwise provided in this
                 Covenant: . . . (2) those laws not described in
                 paragraph (1) which are applicable to Guam and which
                 are of general application to the several States as they
                 are applicable to the several States[.]
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         laws in existence on January 9, 1978. 2 Saipan Stevedore Co.
         Inc. v. Dir., Off. of Workers’ Comp. Programs, 133 F.3d 717,
         723 (9th Cir. 1998). As I explain below, such amendments
         constitute “legislation” as set out in § 105 and therefore must
         comply with that provision. Even so, however, Salas has
         failed to demonstrate that § 2156 and its 2018 Amendment
         “impermissibly intrude[] on the internal affairs of the
         CNMI.” U.S. ex rel. Richards v. De Leon Guerrero, 4 F.3d
         749, 755 (9th Cir. 1993). I would thus affirm the district
         court for the reasons discussed by the majority in Part IV of
         its opinion. See Maj. Op. at 21–27.
                                              I.
             This case involves a question of first impression:
         whether § 105 of the Covenant applies to amendments to
         laws in existence on January 9, 1978. To be sure, we have
         previously held that “Section 502 governs the application to
         the CNMI of federal laws existing prior to January 9, 1978,
         and that Section 105 governs the application of federal laws


         2
             Section 105 of the Covenant provides:
                    The United States may enact legislation in accordance
                    with its constitutional processes which will be
                    applicable to the Northern Mariana Islands, but if such
                    legislation cannot also be made applicable to the
                    several States the Northern Mariana Islands must be
                    specifically named therein for it to become effective in
                    the Northern Mariana Islands. In order to respect the
                    right of self-government guaranteed by this Covenant
                    the United States agrees to limit the exercise of that
                    authority so that the fundamental provisions of this
                    Covenant, namely Articles, I II and III and Section 501
                    and 805, may be modified only with the consent of the
                    Government of the United States and the Government
                    of the Northern Mariana Islands.
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         enacted after that date.” Richards, 4 F.3d at 756. But
         Richards and later cases, which discuss the applicability of
         laws in existence on January 9, 1978. to the CNMI, do not
         shed light on the question of “subsequent amendments to
         such laws.” Covenant § 502. That question is squarely
         presented in this case.
             Importantly, Northern Mariana Islands v. United States,
         279 F.3d 1070 (9th Cir. 2002)—one of the only Ninth Circuit
         opinions to address amendments to laws in existence on
         January 9, 1978—does not settle the matter. In Northern
         Mariana Islands, we considered whether amendments to the
         Quiet Title Act were applicable to the CNMI under the terms
         of the Covenant. We ultimately determined that they were,
         concluding:

                Because the Quiet Title Act was in existence
                on January 9, 1978, and because the Quiet
                Title Act is applicable to Guam and to the
                States generally, the Quiet Title Act and its
                amendments are applicable to the CNMI “as
                they are applicable to the several States,”
                under the terms of section 502(a)(2).

         Id. at 1073 (footnotes omitted).
             The majority understandably relies on Northern
         Mariana Islands as evidence that only “§ 502 governs the
         applicability of amendments to laws that existed on January
         9, 1978, even if the amendments were enacted after that
         date.” Maj. Op. at 18. Yet the parties in that case never
         presented the court with the argument that both § 105 and
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         § 502 applied. Indeed, the parties did not brief the issue,3
         and § 105 appears nowhere in the opinion. Northern
         Mariana Islands thus does not control how we should
         resolve this important question of territorial law. See United
         States v. Kirilyuk, 29 F.4th 1128, 1134 (9th Cir. 2022)
         (“Prior precedent that does not ‘squarely address’ a
         particular issue does not bind later panels on the question.”
         (quoting Brecht v. Abrahamson, 507 U.S. 619, 631 (1993)));
         United States v. Marin, 90 F.4th 1235, 1240 (9th Cir. 2024)
         (observing that “questions which merely lurk in the record,
         neither brought to the attention of the court nor ruled upon,
         are not to be considered as having been so decided as to
         constitute precedents” (cleaned up) (internal quotation
         marks omitted) (quoting Cooper Indus., Inc. v. Aviall Servs.,
         Inc., 543 U.S. 157, 170 (2004))). 4


         3
           In Northern Mariana Islands, the parties did not argue over which
         sections of the Covenant applied to the amendments to the Quiet Title
         Act. Rather, both parties agreed that § 502 applied, and the key dispute
         was whether the amendments met § 502’s requirements. See Opening
         Brief, N. Mariana Islands v. United States, 279 F.3d 1070, 2000 WL
         33982882, at *7; Answering Brief, N. Mariana Islands v. United States,
         279 F.3d 1070, 2000 WL 33984520, at *13–14 & n.9, *31; Reply Brief,
         N. Mariana Islands v. United States, 279 F.3d 1070, 2000 WL 33982268,
         at *7–11. Notably, however, the CNMI nonetheless assumed that both
         provisions applied, even though that issue was not litigated. See Reply
         Brief, N. Mariana Islands v. United States, 279 F.3d 1070, 2000 WL
         33982268, at *8–*9 & n.18.
         4
           The majority suggests that I mean to “disregard Northern Mariana
         Islands’s interpretation and application of § 502 because the court did
         not consider other evidence (that is, § 105) when it analyzed § 502.”
         Maj. Op. at 18 n.2. Not at all. Indeed, I do not dispute that “§ 502
         encompasses amendments of laws that are applicable to the CNMI as
         amendments become part of the original law.” Maj. Op. at 18 n.2.
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              As this case demonstrates, an amendment to a law can be
         just as far-reaching as the original law itself. The question
         of whether § 105 also applies to an amendment of a law in
         existence on January 9, 1978, is thus an important one. We
         should not imply an answer from Northern Mariana Islands
         to dispose of the matter. See Guerrero v. RJM Acquisitions
         LLC, 499 F.3d 926, 938 (9th Cir. 2007) (“We are not
         required to follow what amounts to, at most, an implicit
         assumption, because ‘[s]uch unstated assumptions on non-
         litigated issues are not precedential holdings binding future
         decisions.’” (alteration in original) (quoting Sakamoto v.
         Duty Free Shoppers, Ltd., 764 F.2d 1285, 1288 (9th Cir.
         1985))).
                                            II.
             Turning to the merits, we must ascertain the statute’s
         plain meaning by “look[ing] to the particular statutory
         language at issue, as well as the particular language and
         design of the statute as a whole.” K Mart Corp. v. Cartier,
         Inc., 486 U.S. 281, 291 (1988). 5 In my view, given the
         Covenant’s plain text, § 105 applies to all federal
         “legislation” enacted after January 9, 1978, including
         original “laws” not in existence on January 9, 1978, and
         “subsequent amendments to [existing] laws.” Covenant


         Rather, and as I explained above, the panel in Northern Mariana Islands
         was never presented with the argument that both § 105 and § 502 could
         apply. We are thus not bound by Northern Mariana Islands as to this
         separate issue.
         5
           We have interpreted the Covenant to be “a congressionally approved
         compact that is both a contract and a statute such that resort to extrinsic
         evidence of the Covenant’s negotiations is entirely appropriate.” Fang
         Lin Ai v. United States, 809 F.3d 503, 507 n.4 (9th Cir. 2015) (cleaned
         up) (quoting Oklahoma v. New Mexico, 501 U.S. 221, 235 n.5 (1991)).
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         § 502. In addition, and to the extent there is any remaining
         ambiguity, the Covenant’s structure and purpose, practical
         effects, and legislative history further support this
         interpretation.
                                        A.
             I begin with Richards, where we interpreted § 105. In
         that case, we first acknowledged that “Congress’ legislative
         authority over the Commonwealth derives from Section
         105.” 4 F.3d at 754. We then held:

                 To give due consideration to the interests of
                 the United States and the interests of the
                 Commonwealth as reflected in Section 105,
                 we think it appropriate to balance the federal
                 interest to be served by the legislation at issue
                 against the degree of intrusion into the
                 internal affairs of the CNMI.

         Id. at 755.
             Importantly, our analysis in Richards adhered to the
         plain text of the Covenant, referring consistently to
         “legislation.” Id. at 754–55. And though we did not define
         the term in that case, the proper analysis for doing so is
         straightforward. The ordinary plain meaning of “legislation”
         is “the enactments of a legislator or a legislative body.”
         Merriam-Webster             Dictionary,          “legislation,”
         https://www.merriam-webster.com/dictionary/legislation
         (last accessed Aug. 15, 2024); see also LEGISLATION,
         Black’s Law Dictionary (12th ed. 2024) (“The law so
         enacted; collectively, the formal utterances of the legislative
         organs of government.”). Given these definitions, there can
         be no question that both original “laws” and “subsequent
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         amendments to [existing] laws,” Covenant § 502, constitute
         “legislation” that “[t]he United States may enact” as
         contemplated by § 105.
             Unsurprisingly, the majority does not refute this point.
         In fact, the majority does not construe § 105 at all, even
         though we must examine both “the particular statutory
         language at issue, as well as the language and design of the
         statute as a whole.” K Mart Corp., 486 U.S. at 291
         (emphasis added). Instead, the majority focuses only on
         § 502, reasoning that this provision controls the immediate
         case because it references the applicability of “laws of the
         United States in existence on [January 9, 1978] and
         subsequent amendments to such laws.” Maj. Op. at 13
         (alteration in original) (quoting Covenant § 502). This
         uncontroversial proposition, however, in no way suggests
         that § 105 cannot also apply. In circumstances where two
         provisions may be applicable, we do not merely disregard
         one or the other. Rather, we apply the “elementary canon of
         construction that an interpretation which gives effect to all
         sections of a statute is preferred.” Biodiversity Legal Found.
         v. Badgley, 309 F.3d 1166, 1175 (9th Cir. 2002).
             In this case, giving effect to all sections of the Covenant
         requires that § 105 encompass all “legislation,” even
         amendments to laws in existence on January 9, 1978. A
         narrower interpretation—for example, that “legislation”
         refers only to laws not in existence on January 9, 1978—
         would create an exception to § 105 not found in the
         Covenant. This, in turn, would also run afoul of the canon
         against surplusage. See United States v. Lopez, 998 F.3d
         431, 440 (9th Cir. 2021) (“This canon of construction
         requires a court, if possible, to give effect to each word and
         clause in a statute.”).
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            Moreover, reading the Covenant to apply both
         provisions to such amendments is further supported by
         examining § 502. As Salas argues, § 502(a) (emphasis
         added) provides that:

                 The following laws of the United States in
                 existence on the effective date of this Section
                 and subsequent amendments to such laws
                 will apply to the Northern Mariana Islands,
                 except as otherwise provided in this
                 Covenant[.]

         Section 502(a) thus appears to contemplate that its own
         requirements operate subordinately to or in conjunction with
         those of other provisions, including § 105. 6 Cf. Arizona All.
         for Cmty. Health Centers v. Arizona Health Care Cost
         Containment Sys., 47 F.4th 992, 999 (9th Cir. 2022)
         (observing that “[p]articular phrases must be construed in
         light of the overall purpose and structure of the whole
         statutory scheme” (alteration in original) (quoting United
         States v. Neal, 776 F.3d 645, 652 (9th Cir. 2015))). There is
         no textual reason to read these provisions as being in conflict



         6
           The majority confusingly responds that “if subsequent amendments
         were treated like new legislation for purposes of applying § 105’s
         requirements, then we would expect to see some textual evidence
         distinguishing between laws in effect on the Covenant’s effective date
         and subsequent amendments to those laws.” Maj. Op. at 20–21. But if
         the drafters of the Covenant believed that the document would be
         examined as a whole and that § 105 applied to all “legislation”
         subsequently enacted by Congress—as is evident from, inter alia, their
         inclusion of the language “except as otherwise provided in this
         Covenant” in § 502—there is no reason why they would need to specify
         anything more.
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         with one another, and we should correspondingly interpret
         the Covenant to give effect to both.
                                            B.
             If the plain text were to leave any ambiguity, 7 the
         Covenant’s structure and purpose, practical effects, and
         legislative history leave no doubt that both provisions apply.
             First, a reading of § 105 that encompasses amendments
         to laws in existence on January 9, 1978, conforms with the
         document’s structure and purpose. With respect to structure,
         the Covenant makes clear that certain provisions of the
         document are “fundamental,” “namely Articles I, II and III
         and Section 501 and 805.” Covenant § 105. It therefore
         makes sense that § 502 (and the analysis that the provision
         requires) is subordinate to § 105, which is found in Article I.
             With respect to purpose, it is evident that at least one of
         the guiding principles of the Covenant is self-government.
         See Covenant Preamble (recognizing the CNMI’s right to
         “express their wishes for self-government or independence”
         and “desire . . . to exercise their inalienable right of self–
         determination”); Covenant § 103 (“The people of the
         Northern Mariana Islands will have the right of local self-
         government and will govern themselves with respect to
         internal affairs in accordance with a Constitution of their

         7
           The majority repeatedly cites Micronesian Telecommunications Corp.
         v. N.L.R.B., 820 F.2d 1097, 1101 (9th Cir. 1987), amended, (9th Cir.
         Sept. 2, 1987), for the proposition that § 502 is “clear and unambiguous.”
         Maj. Op. at 13, 17 (citing Micronesian Telecommunications Corp., 820
         F.2d at 1101). But Micronesian Telecommunications Corp. exclusively
         interpreted § 502 and dealt only with laws in existence on January 9,
         1978, not “subsequent amendments to such laws.” Covenant § 502.
         Thus, for the reasons already discussed, the cited language from
         Micronesian Telecommunications Corp. is of limited utility here.
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         own adoption.”); Covenant § 105 (“In order to respect the
         right of self-government guaranteed by this Covenant the
         United States agrees to limit the exercise of [its legislative]
         authority . . . .”). 8 To allow some “legislation” to escape the
         reach of § 105—which we have interpreted to incorporate
         the right of self-government enshrined in § 103, see
         Richards, 4 F.3d at 755—would consequently undermine
         one of the Covenant’s guiding principles. 9, 10


         8
           Further evidence that self-government is one of the Covenant’s guiding
         principles is that the Covenant was ratified with the goals of the
         antecedent trusteeship in mind. See Micronesian Telecommunications
         Corp., 820 F.2d at 1101 (“The 1976 Covenant was designed so the
         Commission [on Federal Laws] could take into consideration those laws
         that might defeat the goals of the trustee agreement.”). And as we have
         recognized, two of the “purposes of the trusteeship agreement” were
         “self-government and economic self-sufficiency.” Id.; see also Wabol v.
         Villacrusis, 958 F.2d 1450, 1461 (9th Cir. 1990) (“And we must be
         mindful also that the preservation of local culture and land is more than
         mere desideratum—it is a solemn and binding undertaking memorialized
         in the Trusteeship Agreement.”).
         9
           The majority suggests that this interpretation “overlooks the purpose of
         § 502 and § 105.” Maj. Op. at 19. As the majority points out, the
         purpose of § 502 was to “establish a ‘workable body of law’ for the
         CNMI upon its inception as a self-governing commonwealth on January
         9, 1978.” Maj. Op. at 19 (citation omitted). “On the other hand, § 105
         granted Congress the right to enact laws applicable to the CNMI post-
         inception so long as the laws also applied to the several States or
         otherwise named the CNMI specifically.” Maj. Op. at 20. It is far from
         clear, however, how the purposes of these provisions, even if distinct,
         are in conflict.
         10
            In fact, when determining whether application of a statute to the CNMI
         is “inconsistent with the purposes of the trusteeship agreement or the
         Covenant,” our caselaw has examined whether application of that statute
         would be “incompatible with the history or culture of the
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             Second, the practical results of the majority’s
         interpretation also counsel in favor of construing § 105 to
         reach all legislation, including “subsequent amendments to
         [existing] laws.” Covenant § 502. Indeed, not only would
         the majority’s interpretation allow amendments to laws in
         existence on January 9, 1978, to escape the reach of § 105,
         it would allow them to do so on the arbitrary basis of whether
         those enactments are classified as original “laws” or
         “subsequent amendments to [existing] laws.” Covenant
         § 502. As Salas argues, “[t]he history of the Animal Welfare
         Act illustrates the folly lurking in such formalism.” 11 Cf. E.
         Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 670 (9th
         Cir. 2021) (“We avoid absurd results when interpreting
         statutes.” (citing Rowland v. Cal. Men’s Colony, Unit II
         Men’s Adv. Council, 506 U.S. 194, 200–01 (1993))).
             Nor would Salas’s interpretation impose novel
         constraints on the federal government. The primary
         requirement of § 105—that federal legislation specifically
         name the CNMI—only becomes effective when legislation
         is not applicable to the several states. Yet amendments to
         laws in existence on January 9, 1978, must already meet this
         requirement to be applicable to the CNMI under § 502(a)(2)
         as well. See N. Mariana Islands, 279 F.3d at 1073–75. The

         Commonwealth,” even under § 502. Saipan Stevedore, 133 F.3d at 722;
         see also id. at 725 (concluding that the Longshore and Harbor Workers’
         Compensation Act was “conceptually consistent with the goals of United
         States involvement in the Commonwealth” where there was “nothing in
         the Act itself or that we can foresee in its application that conflicts with
         the Commonwealth’s right of self-government over local and internal
         matters”).
         11
            Opening Br. 13 n.20 (explaining how the Act’s evolution “show[s]
         clearly that the choice of whether or not to formally characterize a given
         piece of legislation an ‘amendment’ to an earlier law is often arbitrary”).
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         only additional requirement for such amendments would be
         Richards’s interest-balancing test, which already applies to
         all other legislation enacted after January 9, 1978.
         Interpreting § 105 to reach subsequent amendments to laws
         in existence on January 9, 1978, would thus only harmonize
         implementation of the Covenant’s scheme.
             Third, the Covenant’s legislative history supports this
         reading as well. 12  First, the Marianas Political Status


         12
            In previous cases involving the Covenant, we have relied upon the
         section-by-section analyses produced by representatives of the CNMI
         and the United States, see, e.g., Richards, 4 F.3d at 754, even calling
         them “authoritative,” N. Mariana Islands v. United States, 399 F.3d
         1057, 1065 (9th Cir. 2005). These include section-by-section analyses
         produced by the Marianas Political Status Commission and the
         Department of Interior. See, e.g., Richards, 4 F.3d at 754 (first citing
         Marianas Political Status Commission, Section-by-Section Analysis of
         the Covenant to Establish a Commonwealth of the Northern Mariana
         Islands 15 (1975) [hereinafter Marianas Commission Section Analysis];
         and then citing Department of Interior, Section-by-Section Analysis of
         the Covenant, reprinted in To Approve “The Covenant to Establish a
         Commonwealth of the Northern Mariana Islands,” and for Other
         Purposes: Hearing Before the Subcomm. on Territorial and Insular
         Affairs of the House Comm. on Interior and Insular Affairs, 94th Cong.,
         1st Sess. 385 (1975) [hereinafter Administration Section Analysis]. We
         have likewise relied upon the congressional reports “produced in
         connection with Congress’s approval of the Covenant.” Fang, 809 F.3d
         at 513 (citing H.R. Rep. No. 94–364, at 11 (1975); S. Rep. No. 94–433,
         at 83 (1975)). Finally, we have also relied upon the final report produced
         by the Northern Mariana Islands Commission on Federal Laws
         established pursuant to Covenant § 504. See, e.g., Saipan Stevedore, 133
         F.3d at 725 & n.14 (citing The Final Report for the Northern Mariana
         Islands Commission on Federal Laws to the Congress of the United
         States, CNMI Reports Vol. I, p. 1G (1991) [hereinafter Final Report (as
         paginated in Opposition to Motion to Dismiss, Ex. 4, Salas v. United
         States, No. 1:22-CV-00008, 2022 WL 16964141 (D. N. Mar. I. Nov. 17,
         2022), ECF No. 8)]).
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         Commission’s Section-by-Section Analysis confirms that
         § 105 affects Congress’s “legislative authority,” not merely
         its ability to enact laws rather than amendments. Marianas
         Commission Section Analysis, at 630; see also id. (“It is the
         view of the [Marianas Political Status Commission] that as a
         practical matter this wording of Section 105, combined with
         the recognition of the right of local self-government in
         Section 103 and the other provisions of Article I, provide
         adequate assurances that federal legislation will not be made
         applicable unless it is appropriate.” (emphasis added)); id. at
         631 (“The United States has made clear on many occasions
         its intent to exercise its powers with respect to the Northern
         Marianas with strict regard for the right of local self-
         government, as it must in view of Section 103.” (emphases
         added)). The Administration’s Section-by-Section Analysis
         and the House and Senate Reports are not to the contrary.
         See Administration Section Analysis, at 384 (“The main
         point of this section is that the United States may enact
         legislation applicable to the Northern Mariana Islands in
         accordance with its Constitutional processes.”); H.R. Rep.
         No. 94–364, at 5 (“Section 105 provides that laws which
         Congress could not also make applicable to a state cannot be
         made applicable to the Northern Marianas unless the
         Northern Marianas is specifically named in the legislation,
         so as to insure that legislation is not unintentionally applied
         to the Northern Marianas.”); S. Rep. No. 94–433, at 67
         (“This section provides that the United States may enact
         legislation applicable to the Northern Mariana Islands in
         accordance with its Constitutional processes.”); see also
         Final Report, at 22 (“Section 105 grants the United States
         the power to legislate with respect to the Commonwealth
         according to its Constitutional process.”).
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             Second, the legislative history strongly suggests that
         § 502 is subordinate to the demands of § 105. For example,
         the Senate Report expressly provides that § 502 “does not
         relate to the power of Congress to legislate with respect to
         the Northern Mariana Islands; that issue is dealt with in
         section 105.” S. Rep. No. 94–433, at 76 ; see also
         Administration Section Analysis, at 388 (same). 13 More
         broadly, the Final Report, at 22 (emphasis added), notes that
         “Section 502 makes applicable . . . federal laws existing on
         January 9, 1978, and amendments to those laws provided
         that they are not inconsistent with the Covenant.” See also
         id. (“The most important limitation on the applicability of
         these laws is Section 103 of the Covenant.”); id. at 34 n.4
         (emphasizing that, unlike § 503, § 502 has the “limitation
         ‘except as provided by this Covenant’”). In combination,
         this legislative history supports concluding that (1) § 105
         sweeps broadly, and (2) § 105 reaches § 502.
            By contrast, the only legislative history cited by the
         majority is the Northern Mariana Islands Commission on
         Federal Laws’s Second Interim Report, which predated the
         Commission’s Final Report. To be sure, we have cited this
         specific report in prior cases involving the CNMI, see, e.g.,
         Fang, 809 F.3d at 513–14 (quoting Second Interim Report


         13
            The Senate and Department of the Interior observed that this was the
         case even though they also noted that the “purpose of [§ 502] is to
         provide a workable body of law.” S. Rep. No. 94–433, at 76;
         Administration Section Analysis, at 388. These two facts—that is, that
         § 105 applies to Congress’s power to legislate and that § 502’s purpose
         is to provide a workable body of law to the CNMI following ratification
         of the Covenant—thus do not inherently conflict. Again, the majority
         does not explain how holding “that both § 105 and § 502 govern the
         applicability of amendments to pre-existing federal laws would eliminate
         this distinction,” or why this would matter. Maj. Op. at 20.
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         of the N. Mariana Islands Comm’n on Fed. Laws to the
         Congress of the United States 415 (1985) [hereinafter
         Second Interim Report]), and the approach described there
         does in fact support the majority’s interpretation, see Second
         Interim Report, at 23–33. However, that approach was
         explicitly repudiated by the Commission’s Final Report,
         which in turn sanctioned an entirely different approach. 14
         See Final Report, at 24 (“[T]his final report specifically
         supplants those General Recommendations and other
         materials set forth in the Second Interim Report at pages 22
         through 52.”). And we have approvingly cited that
         superseding approach. See, e.g., Saipan Stevedore, 133 F.3d
         at 725 (citing Final Report). 15


         14
              As laid out in the Final Report, at 24:
                     In deciding whether or not to apply a federal law to the
                     Commonwealth we should initially ask two questions:
                     (1) Is the law necessary and proper for carrying out the
                     Covenant, and (2) Is the law inconsistent with the right
                     of self-government over local and internal matters
                     reserved to the people of the Commonwealth in
                     Section 103. Only if a Federal Law is both necessary
                     and proper in carrying out the Covenant and not
                     inconsistent with the right of self-government is it
                     applicable within the Commonwealth.
         15
            The majority responds that we have continued to rely on the Second
         Interim Report in other cases. I never suggested otherwise. The
         difference here, of course, is that each of the cases cited by the majority
         relied on portions of the Second Interim Report that examined the
         applicability of specific statutes. See Fang, 809 F.3d at 513–14; Xianli
         Zhang v. United States, 640 F.3d 1358, 1373–74 (Fed. Cir. 2011). These
         portions of the Second Interim Report were not “specifically
         supplant[ed].” Final Report, at 24; see also id. (“Some of those laws that
         the Commission found applicable [in the Second Interim Report] may
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             Finally, to the extent the above interpretive tools do not
         settle the matter, I would read any remaining ambiguity in
         favor of the CNMI and its people for at least two reasons.
         First, as Salas argues, this aligns with the intent of the
         Covenant’s drafters. Indeed, Representative Phillip Burton,
         who served as Chairman of the House Subcommittee on
         Territorial and Insular Affairs, 16 expressed as much. See 122
         Cong. Rec. 727 (statement of Rep. Burton) (“Our
         committee’s and my own intent is that all possible
         ambiguities should be resolved in favor of and to the benefit
         of the people and Government of the Northern Mariana
         Islands.”).
              Second, in similar circumstances, both the Supreme
         Court and our court have read statutory ambiguities in favor
         of self-governing parties with whom the United States has
         ratified agreements. See Antoine v. Washington, 420 U.S.
         194, 199 (1975) (“The canon of construction applied over a
         century and a half by this Court is that the wording of treaties
         and statutes ratifying agreements with the Indians is not to
         be construed to their prejudice.”); Swim v. Bergland, 696
         F.2d 712, 716 (9th Cir. 1983) (“Agreements between the
         United States and Indian tribes are to be construed according


         not be applicable to the extent they conflict with the test adopted in this
         final report. . . . We leave to Covenant Section 902 consultations this
         methodology for reassessing some of the specific recommendations
         made in the Second Interim Report.” (emphasis added)).
         16
           See Howard P. Willens & Deanne C. Siemer, An Honorable Accord:
         The Covenant Between the Northern Mariana Islands and the United
         States 296–99 (2002). In fact, according to Willens and Siemer,
         Representative Burton “[d]eliver[ed] the House [of Representatives]” as
         part of Congress’s approval of the Covenant. Id. He also served as a
         member of the Northern Mariana Islands Commission on Federal Laws
         until his death in 1983. See Final Report, at 5.
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         to the probable understanding of the original tribal
         signatories.”); United States v. S. Pac. Transp. Co., 543 F.2d
         676, 687 (9th Cir. 1976) (“[S]tatutes enacted for the
         protection of Indians must be broadly construed in the
         Indians’ favor.”); see also James T. Campbell, Aurelius’s
         Article III Revisionism: Reimagining Judicial Engagement
         with the Insular Cases and “The Law of the Territories,” 131
         Yale L.J. 2542, 2637 (2022) (“There are many potentially
         relevant doctrinal threads with which to link the notion of
         promise keeping in the territorial and Indian law contexts.
         For instance, the Supreme Court’s Indian-law
         jurisprudence . . . has declined to distinguish between treaty
         and nontreaty agreements with the federal government,
         subjecting both to interpretive rules that are designed to
         vindicate those promises and prevent diminishment of
         reservation borders.”). Given the Covenant’s consistent
         emphasis on self-government, I would likewise view any
         remaining ambiguity in the Covenant’s language in favor of
         the CNMI and its people.
             In this case, reading ambiguity in the Covenant in favor
         of the CNMI and its people means ensuring that § 105
         reaches all federal “legislation,” including subsequent
         amendments to laws in existence on January 9, 1978. This
         reading would further protect § 103’s right to self-
         government. I would therefore hold that § 105 also applies
         to amendments to laws in existence on January 9, 1978.
         This, in turn, requires that the Richards balancing test apply
         to our review of § 2156 and its 2018 Amendment.
                                      III.
             Applying the Richards balancing test to the immediate
         case, I agree with the majority that Salas has failed to
         demonstrate § 2156 and its 2018 Amendment
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         “impermissibly intrude[] on the internal affairs of the
         CNMI.” Richards, 4 F.3d at 755. I thus concur in the
         majority’s thorough analysis concluding that “the federal
         interests advanced by § 2156 and its 2018 Amendment are
         significant, outweighing any intrusion into the internal
         affairs of the CNMI.” Maj. Op. at 21.
                                        ***
             To close, when the United States and the people of the
         Northern Mariana Islands came together to ratify the
         Covenant, they enshrined in that document the CNMI’s
         fundamental right to self-government. See Covenant
         §§ 103, 105; see also “The Covenant to Establish a
         Commonwealth of the Northern Mariana Islands,” and for
         Other Purposes: Hearing Before the Subcomm. on
         Territorial and Insular Affairs of the House Comm. on
         Interior and Insular Affairs, 94th Cong., 1st Sess. 625 (1975)
         (“We look forward to the day when the people of the
         Marianas can control their own destiny.”). As part of that
         momentous process, the United States expressly agreed to
         limit the exercise of its authority to “enact legislation . . . [i]n
         order to respect the right of self-government guaranteed by
         this Covenant.” Covenant § 105; see also Richards, 4 F.3d
         at 755. We are faced here with the question of just how
         committed we are to upholding that promise. Because I
         believe that we are bound to do so based on the Covenant’s
         plain text and “every other interpretive tool,” Saipan
         Stevedore, 133 F.3d at 723, I would hold that § 105 applies
         to all federal “legislation,” including “laws” and “subsequent
         amendments to [existing] laws.”               Covenant § 502.
         Notwithstanding this application, Salas has failed to
         demonstrate that § 2156 and its 2018 Amendment
         “impermissibly intrude[] on the internal affairs of the
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         CNMI.” Richards, 4 F.3d at 755. I therefore respectfully
         concur in the court’s judgment.
